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                                                                      USDC SDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                             DOC #: ____________________
                                                                      DATE FILED: __11/6/2020

               -against-
                                                                                 20 Cr. 557 (AT)
ALVIN FORDE,
                                                                                     ORDER
                                Defendant.
ANALISA TORRES, District Judge:

        The Court will hold an initial conference in this action on November 9, 2020, at 12:00
p.m., using the Court’s Skype for Business platform. See In re Coronavirus/Covid-19
Pandemic, 20 Misc. 176, ECF No. 3 (S.D.N.Y. Sept. 16, 2020) (“[C]onditions, which are
unlikely to be alleviated in the near future, make it impossible for the judges in this District to
conduct all criminal proceedings in person in the courthouses.”). Chambers will provide the
parties with instructions on how to appear via video.

        To optimize the quality of the video feed, only the Court, Defendant, defense counsel,
and counsel for the Government will appear by video for the proceeding; all others may
participate by telephone. Co-counsel, members of the press, and the public may access the audio
feed of the conference by calling (917) 933-2166 at the time of the hearing, and entering access
code 476948982.

       SO ORDERED.

Dated: November 6, 2020
       New York, New York
